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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                 )
               Plaintiff,                 )
                                          )
              v.                          )        Civil Action No. 07-11194-MBB
                                          )
$572,204.00 IN UNITED STATES              )
CURRENCY, MORE OR LESS                    )
                                          )
                    Defendant.            )

                         AFFIDAVIT IN SUPPORT OF MOTION
                              FOR ENTRY OF DEFAULT

      I, Rachael S. Rollins, state under oath as follows:

      1.      I am an Assistant United States Attorney.                      I represent

the plaintiff, the United States of America, in this case. This is

an   action    in   rem    for    forfeiture        of    the   defendant       currency,

described as $572,204.00 in United States currency (the “Defendant

Currency”). Accordingly, this action is governed by the procedures

set forth in the Federal Rules of Civil Procedure and in Rules C

and G of the Supplemental Rules for Certain Admiralty and Maritime

Claims.

      2.      As described in the Affidavits of United States Drug

Enforcement Administration Special Agent Jeffrey Commander, Exhibit

A to the Complaint in this case, the Defendant Currency is subject

to   forfeiture     to    the    United       States     pursuant     to   21    U.S.C.   §

881(a)(6) and § 881(b), because it represents moneys, negotiable

instruments, securities, or other things of value furnished or

intended to be furnished by any person in exchange for a controlled

substance     or    listed      chemical      in   violation     of    the      Controlled
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Substances Act.

     3.    The Complaint for Forfeiture in Rem was filed on or about

June 28, 2007. Docket #1

     4.    This Court issued a Warrant and Monition on or about

September 12, 2007, Docket #2, directing the United States Marshals

Service to give notice to all persons concerned that a Complaint in

Rem had been filed, and to arrest and retain the Defendant Currency

in its custody.

     5.    Winston H. Conkling, the registered owner of the vehicle

that the Defendant Currency was seized from, was sent a certified

copy of the Complaint and Monition by certified mail on September

19, 2007 and filed a Claim and an Answer to the Complaint on

October 26, 2007 through his counsel.       See Docket #7.

     6.    Publication of the Complaint and Monition was made in the

Boston Herald on September 25, 2007, October 2, 2007, and October

9, 2007.   See Docket #12 for a copy of the process receipt and

return for publication executed by United States Marshals Service.

     7.    Under Supplemental Rule (G)(5), any person asserting an

interest in the Defendant Currency is required to file a claim

within thirty (30) days after process has been executed and an

answer within twenty (20) days after the filing of the claim.

     8.    To date, only one claim to the Defendant Currency and

answer to the complaint have been filed by Winston H. Conkling, and

the time for filing any other claims and answers has expired.


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        9.    On October 15, 2009, Winston H. Conkling, through his

counsel, filed a Voluntary Stipulation of Dismissal with prejudice

and without costs.      See Docket #25.

        10.   On October 15, 2009 this Court issued a Final Judgment

dismissing the claim of Winston H. Conkling.           See Docket #26.

        Signed under the penalties of perjury this 19th day of October,

2009.


                                            /s/Rachael S. Rollins
                                            RACHAEL S. ROLLINS
                                            Assistant U.S. Attorney




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